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':' 3 IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE .`, §

 

    

 

   
 

Defendant.

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Plaintii`f.
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JAMES TRENELL’ GIAJL.E§`S 4 U. S. DIsTaIcii cents

 

 

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MOTION To CGNTINUE sENTENCING DA E

 

Defendant Jarnes Trenell, by and through counsel Juni S. Ganguli, respectfully
requests that the sentencing date in his case be continued Sentencing is currently set for
May 20, 2005. In support thereof, counsel would show the following

l. Mr. Trenell rnay serve the prosecution as a Witness in United States ofAmerica

v. Rormie Henry, case number 04-20244-MI.

2. Mr. Henry’s case is set for report on May 27, 2005. A trial date in the matter

will likely be selected at that time.

3. Counsel would respectfully request that the Court re-set Mr. Trenell’s

sentencing date for thirty days.

4. Counsel has spoken with Assistant United States Attorney David Pritchard and

there is no objection to re-setting the date for sentencing

Th\s doct.ment entered on the docket sheet ln compliance
with ama 55 and/or azrb) Fach on ' 5

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Respectfully submitted,

JUNI S. GA LI (#018659)
Attorney for Defendant

40 South Main Street, Suite 1540
Memphis, TN 38103

901- 544-9339

CERTIFICATE ()F SERVICE

I certify that a copy of the foregoing motion has been served on Assistant United
States Attomey David Pritchard, 167 North Main Street, Suite 800, Memphis, TN 38103
this 17nh day of May, 2005.

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Juni S. Gang

UNITED sTATE DISTRIC COURT - WTERN D's'TRCT OFTENNESSEE

    

Notice of Distribution

This notice confirms a copy of the document docketed as number 54 in
case 2:04-CR-20192 Was distributed by faX, mail, or direct printing on
May 20, 2005 to the parties listed

 

 

David Pritchard

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Honorable J on McCalla
US DISTRICT COURT

